
PER CURIAM.
We have for review a district court decision certifying the following question to be of great public importance:
WHETHER DAVIS [v. UNITED STATES, 512 U.S. 452, 114 S.Ct. 2350, 129 L.Ed.2d 362 (1994) ], APPLIES TO THE ADMISSIBILITY OF CONFESSIONS IN FLORIDA IN LIGHT OF TRAYLOR v. STATE, 596 So.2d 957 (Fla.1992)?
Weber v. State, 691 So.2d 55 (Fla. 4th DCA 1997). We have jurisdiction. Art. V, § 3(b)(4), Fla. Const.
In State v. Owen, 696 So.2d 715 (Fla.1997), we answered this question in the affirmative. Accordingly, consistent with Owen, we quash the decision below and remand for further proceedings.
It is so ordered.
OVERTON, SHAW, GRIMES, HARDING and WELLS, JJ., concur.
KOGAN, C.J., dissents.
ANSTEAD, J., recused.
